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                                                                            FILED
                     UNITED STATES COURT OF APPEALS                          APR 18 2017

                                                                         MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




   BEINER ENTERPRISES, INC., a                   No.   15-56584
   Washington Corporation,
                                                 D.C. No.
               Plaintiff-counter-                2:13-cv-08723-AB-MRW
               defendant-Appellant,              Central District of California,
                                                 Los Angeles
   v.

   ADAM CALDWELL, INC., a California             ORDER
   Corporation and JENNIFER
   CALDWELL, an individual,

               Defendants-counter-
               claimants-Appellees.


  Before: WARDLAW and CALLAHAN, Circuit Judges, and QUIST,* District
  Judge.

        The motion to dismiss this case, Docket No. 46, is GRANTED. This case is

  DISMISSED WITH PREJUDICE. The copy of this order constitutes the mandate.




        *
              The Honorable Gordon J. Quist, United States District Judge for the
  Western District of Michigan, sitting by designation.
